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February 11, 2021


BY ECF
Honorable Alvin K. Hellerstein
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

re: Maria J. Pizarro v. Euros El Tina Restaurant, Lounge, and Billiards Corp., et al 20-CV-5783 (AKH)


Your Honor,

My office represents Plaintiff Maria J. Pizarro (hereinafter “Plaintiff”), in this action. In that capacity, I write
with the consent of Martin Restituyo, Esq., Defendants’ counsel, to respectfully request an extension of the
time to answer or otherwise respond to Defendants’ counter claims from February 12, 2021 up to and
including March 5, 2021. The reason for this request is the undersigned has an opposition to a motion for
summary judgment in the District of New Jersey due on February 18, 2021 before the Honorable John Michael
Vasquez in the matter of Available Trade International, LLC. V. Tekno Products, Inc. 2:19-CV-14851 (JMV)
(JAD), an opposition to a motion for change of venue in the Southern District of New York before the
Honorable Ronnie Abrams in the matter of Shameika Chan v. iSpot TV, Inc., 20-CV-8222 (RA) and a hearing
on March 1, 2021 in Kings County Family Court. Based on these other matters, the undersigned respectfully
requests that Plaintiff’s response to the Third-Party Complaint be due by March 5, 2021. Plaintiff thanks the
Court for its consideration herein.


                                                       Respectfully submitted,

                                                       /s/Evan Brustein

                                                       Evan Brustein
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cc:   All parties (via ECF)
